CaSe:18-18627-JGR DOC#ZJ_S Filed:lO/OS/J_S Entered:lO/OS/l$ 19223205 Pagel Of2

ln re:

DENNIS K. OBDUSKEY,

Debtor.

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT ()F COLORADO

Case No.: 18-18627 JGR
Chapter 13

 

 

MOTION T() CONTINUE AUTOMATIC STAY PURSUANT TO 11

 

U.s.C. §362(¢)(3)(13) & L.B.R. 4001-2

 

COMES NOW the Debtor through counsel and moves the court to continue the
Automatic Stay pursuant to 11 U.S.C. § 362(c)(3)(B) & L.B.R. 4001-2 as to all creditors.

AS GROUNDS the Debtor would state:

1.

The Debtor filed a Chapter 13 Bankruptcy on July 19, 2016, Case No. 16-17141
JGR .

The Debtor’s chapter 13 case was dismissed voluntarily on September 28, 2018.
The debtor has elected to re-file the chapter 13 believing that his circumstances
including his income has changed radically.

The background to this dismissal is as follows. The debtor has depleted his
savings including retirement funds fighting to save his former home in Bailey,
Park County, Colorado.

This is the debtor’s second chapter 13.

The Debtor filed a voluntary petition under chapter 13 of Title 11 U.S.C. on
October 2, 2018, after the order dismissing his previous case had entered.

The Debtor has filed this case to account for taxes owed to the IRS and to account
for other debts including attorney fees incurred since the last filing.

This chapter 13 is filed in good faith. The payment to the chapter 13 plan now
provides for payment of all priority claims.

A form of order is here attached.

Respectfully submitted this 2nd day of September, 2018.

 

CaSe:18-18627-JGR DOC#ZJ_S Filed:lO/OS/J_S Entered:lO/OS/l$ 19223205 PageZ Of2

Law Office of Stephen H. Swift, P.C.

/s/ Stephen H. Swift

Stephen H. Swift #14'766
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VERIFICATION

Under Penalty of perjury, I do hereby adopt the statements contained in the foregoing and state
that those statements are true to the best of my knowledge and belief. DW; 69

Dated: October 2, 2018 /s/ Dennis Obduskev
Debtor

 

